          Case 1:20-cv-02430-AKH Document 1 Filed 03/19/20 Page 1 of 4



Irina Roller (IR 0177)
Attorney for Plaintiffs
Law Offices of Irina Roller, PLLC
40 Wall Street, Suite 2508
New York, N.Y. 10005
(212) 688-1100


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
______________________________________________X

S.C. individually and on behalf of her child
G.C. a minor,

                                                                              COMPLAINT
                                      Plaintiffs,

       -against -

NEW YORK CITY DEPARTMENT OF EDUCATION,

                                      Defendant.

______________________________________________X


       Plaintiffs, S.C. individually and on behalf of her child G.C., a minor, by their attorneys,
Law Offices of Irina Roller, PLLC as and for their Complaint against defendant, THE NEW
YORK CITY DEPARTMENT OF EDUCATION, allege and state the following:


       FIRST: Plaintiffs child is a minor child with learning disabilities, and at all relevant times
plaintiffs reside within New York City, who are entitled to all rights, entitlements, and procedural
safeguards mandated by applicable law and statutes including, but not limited to, the Individuals
with Disabilities Education Improvement Act (“IDEIA”), 20 U.S.C. §§ 1400, et seq.; the federal
regulations governing the IDEIA; Article 89 of the New York State Education law; and Part 200
of the New York State Education Commissioner’s Regulations.


       SECOND: At all relevant times, all plaintiffs have resided and continue to reside within
the County of New York.


                                                                                                   1
              Case 1:20-cv-02430-AKH Document 1 Filed 03/19/20 Page 2 of 4



        THIRD: Plaintiffs, though known to defendant, are not expressly named herein by their
given names or specific address because of the privacy guarantees provided in the IDEIA statute,
as well as in the Family Education Rights Privacy Act, 20 U.S.C. § 1232g and 34 C.F.R. Part 99.
Upon the request of this Court, plaintiffs are prepared to disclose plaintiffs’ identities in camera.
        FOURTH: Defendant, upon information and belief, is a duly constituted school district
organized under the laws of the State of New York and is the “local educational agency” charged
with the obligation to provide minor plaintiff herein with a free and appropriate public education
(“FAPE”).

                                   NATURE OF THE ACTION
        FIFTH: This action is filed pursuant to the IDEIA, 20 U.S.C. § 1415, and follows a trial on
behalf of the plaintiffs that resulted in an Impartial Hearing Officer’s (“IHO”) decision, on the
merits, in plaintiffs’ favor.
        SIXTH: This action is filed to secure statutory attorneys’ fees and costs that plaintiffs
should be awarded in this fee application action, and in the underlying administrative proceedings,
as the plaintiffs are the “prevailing party” pursuant to the express fee-shifting provisions of the
IDEIA, 20 U.S.C. § 1415(i)(3).

                                  JURISDICTION AND VENUE
        SEVENTH: This court, pursuant to 20 U.S.C. §§ 1415(i)(2) and (3), 34 C.F.R. §§ 300.516
and 300.517, 28 U.S.C. §§ 1331 and 1367, has jurisdiction over this action without regard to the
amount in controversy. Venue is proper in that plaintiffs and defendant reside in or are situated
within this judicial district.

                                   FACTUAL BACKGROUND
        EIGHTH: Pursuant to the IDEIA statute, as well as the New York State Education Law,
all school agencies within the State are required to offer eligible students with disabilities a special
education program and services that are tailored to meet the individual needs of each child with a
disability.
        NINTH: On or about October 5, 2015 plaintiffs, S.C. individually and on behalf of her
child G.C., a minor, initiated an administrative due process proceeding against defendant in order
to obtain tuition reimbursement and other relief based upon defendant’s failure to provide G.C.
with a FAPE for the 2016-17 school year. Plaintiffs sought tuition reimbursement in connection


                                                                                                        2
            Case 1:20-cv-02430-AKH Document 1 Filed 03/19/20 Page 3 of 4



with G.C.’s placement at the York Preparatory School (“York”) as well as and reimbursement for
private tutoring services.
          TENTH: Following a two-day trial, in a 15-page Findings of Fact and Decision (“FOFD”)
dated March 2, 2017 Impartial Hearing Officer Elise Kestenbaun, Esq. issued an Order, Case No.
163546. The Impartial Hearing Officer subsequently issued a 15-page Corrected Findings of Fact
and Decision (“FOFD”) dated March 20, 2017. The Corrected Findings of Fact and Decision
found, upon an analysis of the three-prong “Burlington-Carter” test, that Plaintiff prevailed on all
claims:


    a) Defendant, DOE failed to meet their burden on prong I. The DOE failed to offer a Free
          Appropriate Public Education (“FAPE”) to the student for the 2016-17 school year.


    b) Plaintiffs satisfied Prong II by demonstrating that the York Preparatory School, at all
          relevant times, was an appropriate school placement for G.C. for the 2016-17 school year.


    c) Prong III, also known as the “equities,” favored plaintiffs.


          ELEVENTH: The hearing officer’s Findings of March 20, 2017 FOFD directed defendant
to reimburse the tuition for York Preparatory School for the 2016-17 school year.
          TWELFTH:      As a consequence of the favorable, un-appealed administrative decision,
Plaintiff qualifies as a “prevailing party” within the meaning of the IDEIA, 20 U.S.C. § 1415(i)(3).
          THIRTEENTH: Under the IDEIA fee-shifting provisions, plaintiffs should be awarded
reasonable attorney’s fees and other recoverable costs for legal services rendered at the
administrative level in the amount of $21,197.00.
          FOURTEENTH: Plaintiffs are also entitled to an award of attorney’s fees and related to
filing costs and disbursements associated with this action in an amount to be set by the Court, and
presently in the amount of approximately $1,500.


                                      PROCEDURAL REQUIREMENTS
          FIFTEENTH: Plaintiffs repeat, reiterate and reaffirm each and every allegation set forth
above as if fully set forth herein.
          SIXTEENTH: Plaintiffs have exhausted their administrative remedies, as attorney’s fees

                                                                                                  3
          Case 1:20-cv-02430-AKH Document 1 Filed 03/19/20 Page 4 of 4



and related costs may not be recovered at the administrative level, and must be adjudicated and
determined by the federal court, absent an agreement by the parties.
       SEVENTEENTH: This action on behalf of all plaintiffs is timely brought based on the
applicable three-year statute of limitations.
       EIGHTEENTH: As a consequence of the favorable, un-appealed administrative decisions,
all plaintiffs qualify as a “prevailing party” within the meaning of the IDEIA, 20 U.S.C. §
1415(i)(3).
       NINETEENTH: Under the IDEIA fee-shifting provisions, plaintiffs should be awarded
reasonable attorney’s fees and other recoverable costs for legal services rendered at the
administrative level and in connection with this fee application.


                                     RELIEF REQUESTED
       WHEREFORE, by reason of the foregoing, this Court should: (a) declare plaintiffs to be
the prevailing party; (b) fix and award plaintiffs’ statutory attorney’s fees and related costs and
disbursements from the administrative proceeding in an amount not less than $21,197.00, (c)
award plaintiffs the attorney’s fees and related filing costs and disbursements associated with this
action in an amount to be set by the Court, and presently in the amount of approximately $1,500.00;
and (d) award plaintiffs such other and further relief as this Court deems fair and just.



Dated: New York, New York
       March 19, 2020


                                       Respectfully submitted,


                                       __s/Irina Roller__________

                                       Irina Roller (IR 0177)
                                       Attorney for Plaintiffs
                                       Law Offices of Irina Roller, PLLC
                                       40 Wall Street, Suite 2508
                                       New York, N.Y. 10005
                                       (212) 688-1100
                                       Email: Hearings@RollerEsq.com




                                                                                                  4
